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                                                                             FILED IN THE
                                                                         U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON


 1                                                                  Nov 29, 2017
                                                                        SEAN F. MCAVOY, CLERK
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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
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 7    UNITED STATES OF AMERICA,
                                                 NO: 2:16-CR-207-RMP-3
 8                             Plaintiff,
                                                 ORDER GRANTING
 9          v.                                   DEFENDANT’S MOTION TO
                                                 MODIFY CONDITIONS OF
10    RUSSELL MELVIN HUNT (3),                   RELEASE AND TO EXPEDITE
                                                 HEARING OF THE SAME
11                             Defendant.

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13         BEFORE THE COURT are Defendant Russell Melvin Hunt’s motion to

14   modify conditions of his presentencing release, ECF No. 139, and his motion to

15   expedite hearing of the same, ECF No. 140. Defendant represents that the

16   Government does not oppose his requests. ECF Nos. 139 at 2; 140 at 1. The Court

17   has reviewed the record and is fully informed.

18         The Court finds that good cause exists to grant both motions. Accordingly,

19   IT IS HEREBY ORDERED:

20         1. Defendant’s Unopposed Motion to Amend Release Conditions, ECF No.

21               139, is GRANTED.


     ORDER MODIFYING CONDITIONS OF RELEASE ~ 1
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 1         2. Defendant’s conditions of pretrial release, ECF No. 30, are hereby

 2            amended to allow Mr. Hunt to engage in archery hunting as an exception

 3            to Condition No. 5 stating that he shall not possess dangerous weapons.

 4         3. All other conditions of release that are not inconsistent with this Order

 5            remain in place.

 6         IT IS SO ORDERED. The District Court Clerk is directed to enter this

 7   Order and provide copies to counsel and to the U.S. Probation office.

 8         DATED November 29, 2017.

 9                                               s/ Rosanna Malouf Peterson
                                               ROSANNA MALOUF PETERSON
10                                               United States District Judge

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     ORDER MODIFYING CONDITIONS OF RELEASE ~ 2
